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       United States Court of Appeals
            for the Fifth Circuit
                           ___________

                            No. 23-50627
                           ___________

Free Speech Coalition, Incorporated; MG Premium,
Limited; MG Freesites, Limited; WebGroup Czech
Republic. a.s.; NKL Associates, s.r.o.; Sonesta
Technologies, s.r.o.; Sonesta Media, s.r.o.; Yellow
Production, s.r.o.; Paper Street Media, L.L.C.; Neptune
Media, L.L.C.; Jane Doe; MediaME, S.R.L.; Midus
Holdings, Incorporated,

                                                   Plaintiffs—Appellees,

                                versus

Angela Colmenero, Attorney General, State of Texas,

                                      Defendant—Appellant.
             ______________________________

             Appeal from the United States District Court
                  for the Western District of Texas
                       USDC No. 1:23-CV-917
             ______________________________

                    UNPUBLISHED ORDER

Before Stewart, Graves, and Oldham, Circuit Judges.
Per Curiam:
     IT IS ORDERED that Appellant’s opposed motion to stay the
district court’s injunction pending appeal is CARRIED WITH THE
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CASE.       The     district    court’s        preliminary   injunction    is
ADMINISTRATIVELY STAYED, and the appeal is EXPEDITED to
the next available oral argument panel.




                                      2
